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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                v.
                                                        Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant




    GOVERNMENT’S UNOPPOSED MOTION TO AMEND BRIEFING SCHEDULE

        On December 16, 2019, this Court scheduled the sentencing hearing in this case for

January 28, 2020 at 11:00 AM. See Minute Order of December 16, 2019. In that order, the Court

set a briefing schedule for the parties to file their supplemental memorandum of law in aid of

sentencing—December 30, 2019 for the government; January 13, 2020 for the defendant. Id.

        There are multiple individuals and entities who must review and approve the

government’s submission, including any changes from the government’s prior sentencing

memorandum and its specific sentencing recommendations. Unfortunately, due to the holidays,

the government is not able obtain the necessary review and approval from all such individuals

and entities by December 30, 2019. Accordingly, the government respectfully requests that this

Court extend the government’s deadline to provide its supplemental sentencing memorandum to

Monday, January 6, 2020, at 12:00 p.m. So that this extension does not prejudice the defendant,

the government also requests that this Court extend the defendant’s deadline to provide his

supplemental sentencing memorandum January 21, 2019, at 12:00 p.m. The government submits

that the proposed deadlines would not necessitate changing the date for the sentencing hearing.

        The government has conferred with the defendant, through counsel, who does not oppose

this request.

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       Wherefore the government respectfully requests that the Court reset the deadlines

associated with the supplemental sentencing memoranda in this case to January 6, 2020, for the

government; and January 21, 2020, for the defendant.



                                                   Respectfully submitted,

                                                   JESSIE K. LIU
                                                   United States Attorney
                                                   D.C. Bar No. 472845

                                                   By: /s/

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Dated: December 26, 2019




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                               CERTIFICATE OF SERVICE


      I, Jocelyn Ballantine, certify that I caused to be served a copy of the foregoing by electronic
means on counsel of record for the defendant on December 26, 2019.




                                              ______/s/_______________
                                              Jocelyn Ballantine
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.
                                                        Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant


                                    [PROPOSED] ORDER

       On December 26, 2019, the government filed an Unopposed Motion to Amend Briefing

Schedule, in which the government requested that the Court amend the current briefing schedule

for sentencing. Upon consideration of the request, and for the reasons stated in the unopposed

motion, it is hereby ORDERED that:

       The government’s motion to amend the briefing schedule is hereby GRANTED. The

government shall file its supplemental memorandum of law in aid of sentencing by no later than

January 6, 2020 at 12:00 pm. Mr. Flynn shall file his supplemental memorandum of law in aid

of sentencing by no later than January 21, 2020 at 12:00 pm. The sentencing hearing will remain

as currently scheduled.

       IT IS SO ORDERED.



                                            __________________________________
                                            The Honorable Emmet G. Sullivan
                                            United States District Judge
